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         EXHIBIT A
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(


    September xx. 2023

                                                                                                                     {311) U.S. Investment



    International Union, UAW

    Attention: Mr. Rich Boyer

    Dear Mr. Boyer:

    As demonstrated below. Stellantis is committed to establish long-term stability and job security for the
    U.S. workforce. In turn, the Unfon understands that product allocation is achieved through strong and
    sustained plant performance and is committed to enable Company success and thereby help create
    stability and security for employees.

    The following summarizes Stellantis' (FCAUSLLq planned future U.S.investments, totaling approximately
    $9.3 billion across 15 Assembly, Powertrain, and Stamping facilities and $250 mHlion across Mopar over
    the term of this Agreement. demonstrating the Company's continued commitment to the UAW and our
(   workforce. Additionally, in support of our E.V. transformation, the Company has other planned future U.S.
    investments. including investment in the three (3} Joint Ventures to construct E.V. battery plants, totaling
    approximately $9.4 billion by 2028. In total, Stellantis plans to invest approximately $18.9B in the U.S.
    during the term of this Agreement.



          Plant                     Current Product                            Future Product Allocation 2023-2028                    -
                                                                                                                                 Investment
    Assemblv                                                                                                                       ~$6.5B
                                                                   All New Midsize Truck in 2027 (80,000- 100,000 Units
    Belvidere                                                                                                                     ~$1.5B
                                                                   Pro1ectedl
                                                                   Mid·C~cle Action u1:1datingthe JeeQ Gladiator (JTI in 2023
                        Current Jeep Wrangler (JLI will continue   Jeep Wrangler (JL) PHEV Upgrade in 2025
    Toledo Assembl:t    into 2028
    Complex                                                        Jeep Gladiator (JT) PHEV Upgrade in 2025                        -s1 SB
    North & South       Current JeeQGladiator !JT) will cont,nue
                        into 2028                                  Next generation JeeQWrangler {J70) including BEV and REPB
                                                                   in 2028

                                                                   M1d-C~cleAction Wagoneer l Grand Wagoneer (WSI in 2025
                                                                   Introducing Wagoneer l Grand Wagoneer (WS) REPSSTlA
                        Current RAM 1500 IDS) will continue        Frame in 2025
                        through 2024
    Warrer Tr ~ck                                                  Introducing Wagoneer l Grand Wagoneer !WS) BEV STLA            ~$600M
                        Wagoneer l Grand Wagoneer (WSI will        Frame in 2027
                        continue into 2028
                                                                   2'" Mid-Cycle Action Wagoneer LGrand Wagoneer (WS) in
                                                                   2027

                                                                   Mid-Cycle Action UQdating the RAM 1500 Light Duty (OT) in
                        Current Ram 1500 light Out:t IDT) will     2024
    Sterling Heigh ts                                                                                                              ~s1.4s
                        continue through 2024                      New RAM 1500 Light Dut~ IDT! including BEV and REPBSTLA
                                                                   Frame in 2024




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                                                                      M1d·C1cle Action updating the Jee11Grand Cherokee 2 row
                           Current Dodge Durango IWDI will            {WL 74) in 2024
                           continue through 2025                      Mid·Cl,'.cleAction u11dahngthe Jee11Grand Cherokee 3 row
     Detroit Assembll'     Current Jee11Grand Cherokee 2 row          {WL 75) in 2024
                                                                                                                                          ~?t ~B
     Com11le,              (WL 74) will continue through 2027         Next generation Durango {06U), including ICEand BEV in
                           Current Jee12Grand Cherokee 3 row          2026
                           {WL 75] will continue into 2028            Next generation Grand Cherokee (J6Ul. 1nclud1ngICE and
                                                                      BEV in 2027
     Powertrain                                                                                                                          ~s2.ssa
                                                                      Launch WL & LB Crossmembers in 2024
                           Continued 12roduct1onof various            Launch EDM Gearbox Cover in 2024
                           engine blocks and components.              launch GME T6 Oil Pan in 2024
     Ko,omo Casting                                                                                                                      ~s:60'1.-1
                           transmission cases and components &        Launch the EP6 Bedplate in 2025
                           chassis components                         Launch the EP6 Block in 2025
                                                                      launch eMotors Housing and Cover in 2026
                           Current Product GME T4 OOHCwill
     Kokomo Engine
                           continue into 2028                                                                                                -
                           Current product 850RE Gen2 will
     Kokomo                continue into 2028                         Launch the 880RE Gen4 in 2024
                                                                                                                                         ~?4!,QV
     Transmission          Current product Sl·EVT will continue       Introduce Electric Drive Motor Gearbox Covers In 2024
                           into 2028                                                                                                I
                                                                      Launch Phase I of Electric Drive Motor Gear Machining &
                           Current product 948TE will continue
                                                                      Assembly in 2024
     lr,d1ana              into 2028
                                                                      Launch Phase II of Electric Drive Motor Gear Machining &           ~$900M
     Transmi<~ior·         Current product 68RFEwill continue
                                                                      Assembly in 2025
                           into 2024
                                                                      Launch e-Motor Assemblv m 2026
                           J>entastarClassic continues through
     Trenton Engine        2024
     Plant                 Pentastar Upgrade continues through
                           2028
                                                                      Launch the GME - T4 EVO in 2024

(    Dundee Engine
     Plant
                                                                      Launch the EP6 in 2025
                                                                      Introduce iiroduction of STLAFrame & large Batte~ Tral'S in        ~SIIOM
     North & South                                                    2024
                                                                      Introduce production of STLALarge Beam Machining m 2025
                           Current 850RE Torgue Converters will
                           continue into 2028
                           Current 948TE Torgue Converters will
                           continue into 2028                         Introduce production of STLALarge Front Cradles
     Toledo •,,~chining    Current HO Truck Steering Columns          Introduce Production of STLAMedium Cradles                         ~}iJOM
                           will continue into 2028                    Introduce Production of Ha1fshafts
                           Current Jeep Wrangler[Glad,ator
                           {JLLJTlSuper-Module continue into
                           2028
     Stamping                                                                                                                            ~$250M
     Sterling Stamping     Continue current iiroducts to support                                                                         ~$165M
                                                                      Introduction of future 12roductsto support Detroit Assembly
     Warren Stam121ng      Detroit Assembly Comiilex Jefferson.
                                                                      Complex Jefferson, Warren Truck. Toledo and Sterling
                           Warren Truck, Toledo and Sterling                                                                              ~$85M
                                                                      Heights Assembly and other North American facilities
                           Heights Assembly facil1t1es.

     Joint Venture Battm Plants                                                                                                         ~$9.48
     Belvidere             launch a new JV Batierv "™'ration     n 2028 w,th a ~et to be 1dent11,ed business oartner                    ~$3.2B
                            launch two {2] new JVBatte~ operations with Samsung SDI with the first scheduled to begin 12roduct1on
     Kokomo. IN                                                                                                                         ~$6 2B
                            in 2025 and the second in 2026.

     Mopar                                                                                                                              ~$250M
     Launch new Belvidere Consolidated Mopar Mega Hub in 2024 through the consolidation of work from the Ma~sville. Chicago.
     and Milwaukee PDC's                                                                                                                ~$100M
     Introduce Stamping operations in suiiport of replacement parts for the Belvidere Mega Hub in 2025
     Launch new Fishkill, NY Mo11ar Hub in 2025 with the consolidation of work from the New York and Boston PDC's                       ~$30M
     Launch new Macon. GA Mopar Hub in 2026 with the consolidation of work from the Orlando and Atlanta PDC's                           ~$30M
     Launch new Metro Detroit Region Mopar Hub in 2026 with the consolidation of work from the Centerline PDC, Centerline
                                                                                                                                        ~S30M
     Warehouse & Packaging, Warren PDC,and Sherwood PDC
l.   launch new Reno. Nevada PDCprojected in 2027 with the consolidation of work from the LA PDC                                        ~$30M



                  tQJ--                        (IG.
     launch new South Central Texas PDCoro1ected in 2026 with the consolidation of work from the Dallas POC                             ~S30M



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    The parties understand and agree that the global and North American economies and vehicle markets
    remain highly volatile and, as such, continue to be unpredictable. Further unpredictabillty with volumes
    and mix is anticipated with the introduction of E.V. product offerings within our vehicle lineup.
    Accordingly, it is understood that the product investment and emp oyment level numbers set forth above
    are subiect to approval by the Stellantis product Allocation Committee and contingent upon plant
    oerformance. changes in market conditions,_and consumer demand continuing to generate sustainable
    and profitable volumes for all of the U.S. manufacturing facilities described above.

            Very truly yours,
            FCA US LLC

            ~Christopher    Fields

    Accepted and Approved:

    INTERNATIONALUNION, UAW
    By: Rich Boyer




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